This is an appeal from a judgment of nonsuit in favor of defendants and against the plaintiff. Upon the filing of appellant's opening brief respondents (defendants below) moved the dismissal of the appeal or the affirmance of the judgment.
An automobile with chauffeur was hired and the hirer's valet took the wheel with the hirer's consent. The vehicle upset and killed the hirer. His mother brought suit against the chauffeur and the owner.
[1] The hirer's consent to his valet's operation of the vehicle was in effect a complete assumption of all risks encountered *Page 510 
thereby, so far as the chauffeur and the owner are concerned.
The judgment is affirmed.
Craig, J., and Hahn, J., pro tem., concurred.